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B1 (Official Form 1) (1/08)                               Document       Page 1 of 41
                                           United States Bankruptcy Court                       Voluntary Petition
                                             Northern District of Illinois
 Name of Debtor (if individual, enter Last, First, Middle):                                       Name of Joint Debtor (Spouse) (Last, First, Middle):
  Rakoczy, Dennis Bernard                                                                              Rakoczy, Kathleen
 All Other Names used by the Debtor in the last 8 years                                           All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                      (include married, maiden, and trade names):
  None                                                                                                 None

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all): 7543                                               (if more than one, state all):    4598
 Street Address of Debtor (No. and Street, City, and State)                                       Street Address of Joint Debtor (No. and Street, City, and State
  107 Lake Drive                                                                                       107 Lake Drive
  Lake in the Hills, IL                                                                                Lake in the Hills, IL
                                                                         ZIPCODE                                                                                 ZIPCODE
                                                                             60156                                                                                  60156
 County of Residence or of the Principal Place of Business:                                       County of Residence or of the Principal Place of Business:
  Mchenry                                                                                              Mchenry
 Mailing Address of Debtor (if different from street address):                                    Mailing Address of Joint Debtor (if different from street address):



                                                                         ZIPCODE                                                                                 ZIPCODE

 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                 ZIPCODE

               Type of Debtor                                           Nature of Business                                    Chapter of Bankruptcy Code Under Which
            (Form of Organization)                           (Check one box)                                                       the Petition is Filed (Check one box)
               (Check one box)                                   Health Care Business                                    Chapter 7
                                                                 Single Asset Real Estate as defined in
                                                                                                                                                   Chapter 15 Petition for
    Individual (includes Joint Debtors)
                                                                 11 U.S.C. § 101 (51B)                                   Chapter 9                 Recognition of a Foreign
    See Exhibit D on page 2 of this form.
                                                                 Railroad                                                                          Main Proceeding
    Corporation (includes LLC and LLP)                                                                                   Chapter 11
    Partnership                                                  Stockbroker                                                                       Chapter 15 Petition for
                                                                                                                          Chapter 12
    Other (If debtor is not one of the above entities,           Commodity Broker                                                                  Recognition of a Foreign
                                                                                                                         Chapter 13                Nonmain Proceeding
    check this box and state type of entity below.)              Clearing Bank
                                                                 Other                                                                    Nature of Debts
                                                                                                                                           (Check one box)
                                                                                                                         Debts are primarily consumer
                                                                            Tax-Exempt Entity                            debts, defined in 11 U.S.C.             Debts are primarily
                                                                          (Check box, if applicable)                     §101(8) as "incurred by an              business debts
                                                                     Debtor is a tax-exempt organization                 individual primarily for a
                                                                     under Title 26 of the United States                 personal, family, or household
                                                                     Code (the Internal Revenue Code)                    purpose."
                             Filing Fee (Check one box)                                                     Check one box:       Chapter 11 Debtors
        Full Filing Fee attached                                                                               Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                               Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
        Filing Fee to be paid in installments (Applicable to individuals only) Must attach                  Check if:
        signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts
        to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                             owed to insiders or affiliates) are less than $2,190,000
                                                                                                            Check all applicable boxes
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                           A plan is being filed with this petition.
        attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                               Acceptances of the plan were solicited prepetition from one or
                                                                                                               more classes, in accordance with 11 U.S.C. § 1126(b).
  Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                 COURT USE ONLY
    Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
    distribution to unsecured creditors.
Estimated Number of Creditors

 1-49           50-99          100-199            200-999            1000-            5,001-            10,001-      25,001-         50,001-       Over
                                                                     5000             10,000            25,000       50,000          100,000       100,000
Estimated Assets

$0 to          $50,001 to      $100,001 to       $500,001         $1,000,001       $10,000,001    $50,000,001       $100,000,001   $500,000,001    More than
$50,000        $100,000        $500,000          to $1             to $10           to $50        to $100           to $500        to $1 billion   $1 billion
                                                 million          million          million        million           million
Estimated Liabilities

$0 to          $50,001 to      $100,001 to       $500,001         $1,000,001       $10,000,001    $50,000,001       $100,000,001   $500,000,001    More than
$50,000        $100,000        $500,000          to $1             to $10           to $50        to $100           to $500        to $1 billion   $1 billion
                                                 million          million          million        million           million
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Voluntary Petition                                                    Document     Page
                                                                                    Name 2
                                                                                         of of 41
                                                                                            Debtor(s):
(This page must be completed and filed in every case)                                              Dennis Bernard Rakoczy & Kathleen Rakoczy
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                                    Case Number:                                           Date Filed:
Where Filed:            NONE

 Location                                                                                    Case Number:                                          Date Filed:
 Where Filed:
                 N.A.
   Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor: NONE                                     Case Number:                           Date Filed:


 District:                                                                                   Relationship:                                          Judge:


                                 Exhibit A                                                                                               Exhibit B
                                                                                                                         (To be completed if debtor is an individual
(To be completed if debtor is required to file periodic reports (e.g., forms                                             whose debts are primarily consumer debts)
10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting                   I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                               the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
relief under chapter 11)                                                                       States Code, and have explained the relief available under each such chapter.
                                                                                               I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).




         Exhibit A is attached and made a part of this petition.                               X       /s/ Scott A. Bentley                                      31 August 2009
                                                                                                     Signature of Attorney for Debtor(s)                             Date


                                                                                      Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

         Yes, and Exhibit C is attached and made a part of this petition.

         No

                                                                                        Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
             Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                  Information Regarding the Debtor - Venue
                                                                                 (Check any applicable box)
                          Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                          There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                          Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                          or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                          court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                     Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                            (Check all applicable boxes)
                          Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                 (Name of landlord that obtained judgment)


                                                                                  (Address of landlord)
                          Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                          Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                          period after the filing of the petition.
                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).


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B1 (Official Form 1) (1/08)                                          Document     Page 3 of 41                                                                                            Page 3
Voluntary Petition                                                                              Name of Debtor(s):
(This page must be completed and filed in every case)                                             Dennis Bernard Rakoczy & Kathleen Rakoczy
                                                                                           Signatures
            Signature(s) of Debtor(s) (Individual/Joint)                                                           Signature of a Foreign Representative
  I declare under penalty of perjury that the information provided in this petition
  is true and correct.
  [If petitioner is an individual whose debts are primarily consumer debts and                   I declare under penalty of perjury that the information provided in this petition
  has chosen to file under chapter 7] I am aware that I may proceed under                        is true and correct, that I am the foreign representative of a debtor in a foreign
  chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief                proceeding, and that I am authorized to file this petition.
  available under each such chapter, and choose to proceed under chapter 7.
  [If no attorney represents me and no bankruptcy petition preparer signs the                    (Check only one box.)
  petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                             I request relief in accordance with chapter 15 of title 11, United States
  I request relief in accordance with the chapter of title 11, United States                                 Code. Certified copies of the documents required by § 1515 of title 11 are
  Code, specified in this petition.                                                                          attached.

                                                                                                             Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                             title 11 specified in this petition.  A certified copy of the order granting
                                                                                                             recognition of the foreign main proceeding is attached.
  X /s/ Dennis Bernard Rakoczy
      Signature of Debtor                                                                            X
                                                                                                         (Signature of Foreign Representative)
  X /s/ Kathleen Rakoczy
     Signature of Joint Debtor

                                                                                                         (Printed Name of Foreign Representative)
      Telephone Number (If not represented by attorney)
       31 August 2009
       Date                                                                                               (Date)

                          Signature of Attorney*
 X      /s/ Scott A. Bentley                                                                                Signature of Non-Attorney Petition Preparer
      Signature of Attorney for Debtor(s)                                                        I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                 as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
     SCOTT A. BENTLEY 6191377                                                                    and have provided the debtor with a copy of this document and the notices
      Printed Name of Attorney for Debtor(s)                                                     and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                 3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                                 setting a maximum fee for services chargeable by bankruptcy petition
      Firm Name                                                                                  preparers, I have given the debtor notice of the maximum amount before any
     618 South Route 31                                                                          document for filing for a debtor or accepting any fee from the debtor, as
      Address                                                                                    required in that section. Official Form 19 is attached.
     Suite 1        McHenry, IL 60050
                                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     (815) 385-0669
     Telephone Number
                                                                                                  Social Security Number (If the bankruptcy petition preparer is not an individual,
     31 August 2009                                                                               state the Social Security number of the officer, principal, responsible person or
    Date                                                                                          partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the
 information in the schedules is incorrect.                                                       Address

        Signature of Debtor (Corporation/Partnership)
   I declare under penalty of perjury that the information provided in this petition
   is true and correct, and that I have been authorized to file this petition on                 X
   behalf of the debtor.

   The debtor requests relief in accordance with the chapter of title 11,                            Date
   United States Code, specified in this petition.
                                                                                                     Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                     person, or partner whose Social Security number is provided above.
 X
     Signature of Authorized Individual                                                              Names and Social Security numbers of all other individuals who prepared or
                                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                     not an individual:
      Printed Name of Authorized Individual
                                                                                                     If more than one person prepared this document, attach additional sheets
                                                                                                     conforming to the appropriate official form for each person.
      Title of Authorized Individual
                                                                                                     A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                     and the Federal Rules of Bankruptcy Procedure may result in fines or
     Date                                                                                            imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

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  B1 D (Official Form 1, Exhibit D ) (12/08)


                                                UNITED STATES BANKRUPTCY COURT
                                                                       Northern District of Illinois



             Dennis Bernard Rakoczy & Kathleen
             Rakoczy
  In re______________________________________                                                      Case No._____________
               Debtor(s)                                                                                 (if known)


                EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT

          Warning: You must be able to check truthfully one of the five statements regarding
  credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
  case, and the court can dismiss any case you do file. If that happens, you will lose whatever
  filing fee you paid, and your creditors will be able to resume collection activities against
  you. If your case is dismissed and you file another bankruptcy case later, you may be
  required to pay a second filing fee and you may have to take extra steps to stop creditors'
  collection activities.

         Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
  must complete and file a separate Exhibit D. Check one of the five statements below and attach
  any documents as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
  from a credit counseling agency approved by the United States trustee or bankruptcy
  administrator that outlined the opportunities for available credit counseling and assisted me in
  performing a related budget analysis, and I have a certificate from the agency describing the
  services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
  developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
  from a credit counseling agency approved by the United States trustee or bankruptcy
  administrator that outlined the opportunities for available credit counseling and assisted me in
  performing a related budget analysis, but I do not have a certificate from the agency describing
  the services provided to me. You must file a copy of a certificate from the agency describing the
  services provided to you and a copy of any debt repayment plan developed through the agency
  no later than 15 days after your bankruptcy case is filed.




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          3. I certify that I requested credit counseling services from an approved agency but
  was unable to obtain the services during the five days from the time I made my request, and the
  following exigent circumstances merit a temporary waiver of the credit counseling requirement
  so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit
  counseling briefing within the first 30 days after you file your bankruptcy case and
  promptly file a certificate from the agency that provided the counseling, together with a
  copy of any debt management plan developed through the agency. Failure to fulfill these
  requirements may result in dismissal of your case. Any extension of the 30-day deadline
  can be granted only for cause and is limited to a maximum of 15 days. Your case may also
  be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
  without first receiving a credit counseling briefing.

         4. I am not required to receive a credit counseling briefing because of: [Check the
  applicable statement.] [Must be accompanied by a motion for determination by the court.]
                 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
  counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

         I certify under penalty of perjury that the information provided above is true and
  correct.



                                       Signature of Debtor:                              /s/ Dennis Bernard Rakoczy
                                                                                         DENNIS BERNARD RAKOCZY

                                                                              31 August 2009
                                                                     Date: _________________




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  B1 D (Official Form 1, Exhibit D ) (12/08)


                                                UNITED STATES BANKRUPTCY COURT
                                                                       Northern District of Illinois



             Dennis Bernard Rakoczy & Kathleen
             Rakoczy
  In re______________________________________                                                      Case No._____________
               Debtor(s)                                                                                 (if known)


                EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT

          Warning: You must be able to check truthfully one of the five statements regarding
  credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
  case, and the court can dismiss any case you do file. If that happens, you will lose whatever
  filing fee you paid, and your creditors will be able to resume collection activities against
  you. If your case is dismissed and you file another bankruptcy case later, you may be
  required to pay a second filing fee and you may have to take extra steps to stop creditors'
  collection activities.

         Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
  must complete and file a separate Exhibit D. Check one of the five statements below and attach
  any documents as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
  from a credit counseling agency approved by the United States trustee or bankruptcy
  administrator that outlined the opportunities for available credit counseling and assisted me in
  performing a related budget analysis, and I have a certificate from the agency describing the
  services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
  developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
  from a credit counseling agency approved by the United States trustee or bankruptcy
  administrator that outlined the opportunities for available credit counseling and assisted me in
  performing a related budget analysis, but I do not have a certificate from the agency describing
  the services provided to me. You must file a copy of a certificate from the agency describing the
  services provided to you and a copy of any debt repayment plan developed through the agency
  no later than 15 days after your bankruptcy case is filed.




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  B1 D (Official Form 1, Exh. D) (12/08) – Cont.
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          3. I certify that I requested credit counseling services from an approved agency but
  was unable to obtain the services during the five days from the time I made my request, and the
  following exigent circumstances merit a temporary waiver of the credit counseling requirement
  so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit
  counseling briefing within the first 30 days after you file your bankruptcy case and
  promptly file a certificate from the agency that provided the counseling, together with a
  copy of any debt management plan developed through the agency. Failure to fulfill these
  requirements may result in dismissal of your case. Any extension of the 30-day deadline
  can be granted only for cause and is limited to a maximum of 15 days. Your case may also
  be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
  without first receiving a credit counseling briefing.

         4. I am not required to receive a credit counseling briefing because of: [Check the
  applicable statement.] [Must be accompanied by a motion for determination by the court.]
                 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
  counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

         I certify under penalty of perjury that the information provided above is true and
  correct.



                                   Signature of Joint Debtor:                            /s/ Kathleen Rakoczy
                                                                                         KATHLEEN RAKOCZY

                                                                              31 August 2009
                                                                     Date: _________________




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              B6 Cover (Form 6 Cover) (12/07)



               FORM 6. SCHEDULES

               Summary of Schedules
               Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
               Schedule A - Real Property
               Schedule B - Personal Property
               Schedule C - Property Claimed as Exempt
               Schedule D - Creditors Holding Secured Claims
               Schedule E - Creditors Holding Unsecured Priority Claims
               Schedule F - Creditors Holding Unsecured Nonpriority Claims
               Schedule G - Executory Contracts and Unexpired Leases
               Schedule H - Codebtors
               Schedule I - Current Income of Individual Debtor(s)
               Schedule J - Current Expenditures of Individual Debtor(s)

               Unsworn Declaration under Penalty of Perjury

               GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
               amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
               identified with the debtor’s name and case number. If the schedules are filed with the petition,
               the case number should be left blank

               Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
               claim is secured only in part or entitled to priority only in part, it still should be listed only once.
               A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
               which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
               the same claim twice. If a creditor has more than one claim, such as claims arising from separate
               transactions, each claim should be scheduled separately.

               Review the specific instructions for each schedule before completing the schedule.




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In re      Dennis Bernard Rakoczy & Kathleen Rakoczy                                                          Case No.
                                   Debtor                                                                                                             (If known)

                                                              SCHEDULE A - REAL PROPERTY
   Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

  Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

   If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
Property Claimed as Exempt.




                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                        OR COMMUNITY
                                                                                                                                               CURRENT VALUE
                                                                                                                                                 OF DEBTOR’S
                  DESCRIPTION AND LOCATION                                              NATURE OF DEBTOR’S                                       INTEREST IN       AMOUNT OF
                         OF PROPERTY                                                   INTEREST IN PROPERTY                                  PROPERTY, WITHOUT      SECURED
                                                                                                                                               DEDUCTING ANY         CLAIM
                                                                                                                                               SECURED CLAIM
                                                                                                                                                OR EXEMPTION



 Debtors' Residence                                                                Fee Simple                             J                         168,000.00     Exceeds Value
 107 Lake Drive
 Lake in the Hills, IL 60156




                                                                                                              Total
                                                                                                                                                    168,000.00

                                                                                                              (Report also on Summary of Schedules.)

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In re      Dennis Bernard Rakoczy & Kathleen Rakoczy                                                        Case No.
                                   Debtor                                                                              (If known)

                                                    SCHEDULE B - PERSONAL PROPERTY
     Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

      If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                            HUSBAND, WIFE, JOINT
                                                                                                                                                   CURRENT VALUE OF




                                                                                                                              OR COMMUNITY
                                                                                                                                                   DEBTOR’S INTEREST
                                                             N                                                                                        IN PROPERTY,
              TYPE OF PROPERTY                               O                             DESCRIPTION AND LOCATION                                     WITHOUT
                                                             N                                   OF PROPERTY                                        DEDUCTING ANY
                                                             E                                                                                      SECURED CLAIM
                                                                                                                                                     OR EXEMPTION


  1.    Cash on hand.                                        X
  2. Checking, savings or other financial                            Checking Account #                                         J                           500.00
  accounts, certificates of deposit, or shares in
  banks, savings and loan, thrift, building and                      Harris Bank
  loan, and homestead associations, or credit
  unions, brokerage houses, or cooperatives.
                                                                     225 S. Randall Road
                                                                     Algonquin, IL 60102

                                                                     Union Account                                              H                            35.51
                                                                     Amalgamated Bank

  3. Security deposits with public utilities,                X
  telephone companies, landlords, and others.

  4. Household goods and furnishings, including                      Miscellaneous household goods and furnishings              J                           500.00
  audio, video, and computer equipment.

  5. Books. Pictures and other art objects,                          Miscellaneous books, pictures, etc.                        J                            25.00
  antiques, stamp, coin, record, tape, compact disc,
  and other collections or collectibles.

  6.    Wearing apparel.                                             Miscellaneous wearing apparel                              J                           150.00
  7.    Furs and jewelry.                                    X
  8. Firearms and sports, photographic, and                          Miscellaneous sports equipment                             J                           200.00
  other hobby equipment.

  9. Interests in insurance policies. Name                           Life Insurance Policy (2)                                  H                         2,260.00
  insurance company of each policy and itemize
  surrender or refund value of each.                                 Knights of Columbus
                                                                     One Columbus Plaza
                                                                     New Haven, CT 06510-3326

                                                                     Life Insurance Policy                                      W                             0.00




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In re      Dennis Bernard Rakoczy & Kathleen Rakoczy                                                        Case No.
                                   Debtor                                                                              (If known)

                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                 (Continuation Sheet)




                                                                                                                            HUSBAND, WIFE, JOINT
                                                                                                                                                   CURRENT VALUE OF




                                                                                                                              OR COMMUNITY
                                                                                                                                                   DEBTOR’S INTEREST
                                                             N                                                                                        IN PROPERTY,
             TYPE OF PROPERTY                                O                             DESCRIPTION AND LOCATION                                     WITHOUT
                                                             N                                   OF PROPERTY                                        DEDUCTING ANY
                                                             E                                                                                      SECURED CLAIM
                                                                                                                                                     OR EXEMPTION



                                                                     Knights of Columbus
                                                                     One Columbus Plaza
                                                                     New Haven, CT 06510-3326

  10. Annuities. Itemize and name each issuer.               X
  11. Interests in an education IRA as defined in            X
  26 U.S.C. § 530(b)(1) or under a qualified State
  tuition plan as defined in 26 U.S.C. § 529(b)(1).
  Give particulars. (File separately the record(s) of
  any such interest(s). 11 U.S.C. § 521(c).)

  12. Interests in IRA, ERISA, Keogh, or other                       401(K)                                                     W                         5,231.32
  pension or profit sharing plans. Give particulars.
                                                                     Wellpoint

                                                                     Union Pension                                              H                         5,501.11
                                                                     IBEW Local 117

  13. Stock and interests in incorporated and                X
  unincorporated businesses. Itemize.

  14. Interests in partnerships or joint ventures.           X
  Itemize.

  15. Government and corporate bonds and other               X
  negotiable and non-negotiable instruments.

  16. Accounts receivable.                                   X
  17. Alimony, maintenance, support, and                     X
  property settlement to which the debtor is or
  may be entitled. Give particulars.

  18. Other liquidated debts owing debtor                    X
  including tax refunds. Give particulars.

  19. Equitable or future interests, life estates, and       X
  rights or powers exercisable for the benefit of
  the debtor other than those listed in Schedule A -
  Real Property.

  20. Contingent and noncontingent interests in              X
  estate or a decedent, death benefit plan, life
  insurance policy, or trust.

  21. Other contingent and unliquidated claims of            X
  every nature, including tax refunds,
  counterclaims of the debtor, and rights of setoff
  claims. Give estimated value of each.




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In re      Dennis Bernard Rakoczy & Kathleen Rakoczy                                                          Case No.
                                   Debtor                                                                                              (If known)

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                 (Continuation Sheet)




                                                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                                                        CURRENT VALUE OF




                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                        DEBTOR’S INTEREST
                                                             N                                                                                                             IN PROPERTY,
              TYPE OF PROPERTY                               O                             DESCRIPTION AND LOCATION                                                          WITHOUT
                                                             N                                   OF PROPERTY                                                             DEDUCTING ANY
                                                             E                                                                                                           SECURED CLAIM
                                                                                                                                                                          OR EXEMPTION


  22. Patents, copyrights, and other intellectual            X
  property. Give particulars.

  23. Licenses, franchises, and other general                X
  intangibles. Give particulars.

  24. Customer lists or other compilations                   X
  containing personally identifiable information
  (as defined in 11 U.S.C. §101(41A)) provided to
  the debtor by individuals in connection with
  obtaining a product or service from the debtor
  primarily for personal, family, or household
  purposes.

  25. Automobiles, trucks, trailers, and other                        1999 Toyota Avalon                                                             J                         3,675.00
  vehicles and accessories.
                                                                      2002 Harley Davidson                                                           J                         9,850.00
  26. Boats, motors, and accessories.                        X
  27. Aircraft and accessories.                              X
  28. Office equipment, furnishings, and supplies.           X
  29. Machinery, fixtures, equipment, and                    X
  supplies used in business.

  30. Inventory.                                             X
  31. Animals.                                               X
  32. Crops - growing or harvested. Give                     X
  particulars.

  33. Farming equipment and implements.                      X
  34. Farm supplies, chemicals, and feed.                    X
  35. Other personal property of any kind not                X
  already listed. Itemize.




                                                                                                 0   continuation sheets attached        Total                          $     27,927.94
                                                                                                     (Include amounts from any continuation
                                                                                                       sheets attached. Report total also on
                                                                                                             Summary of Schedules.)




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In re      Dennis Bernard Rakoczy & Kathleen Rakoczy                                                             Case No.
                                   Debtor                                                                                              (If known)

                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
  Debtor claims the exemptions to which debtor is entitled under:
  (Check one box)

         11 U.S.C. § 522(b)(2)                                                                   Check if debtor claims a homestead exemption that exceeds
                                                                                                 $136,875.
        11 U.S.C. § 522(b)(3)



                                                                                                                                                  CURRENT
                                                                                       SPECIFY LAW                        VALUE OF           VALUE OF PROPERTY
              DESCRIPTION OF PROPERTY                                                PROVIDING EACH                       CLAIMED            WITHOUT DEDUCTING
                                                                                        EXEMPTION                        EXEMPTION               EXEMPTION


   Debtors' Residence                                                  (Husb)735 I.L.C.S 5§12-901                              15,000.00                168,000.00
                                                                       (Wife)735 I.L.C.S 5§12-901                              15,000.00

   Checking Account #                                                  (Husb)735 I.L.C.S 5§12-1001(b)                             250.00                      500.00
                                                                       (Wife)735 I.L.C.S 5§12-1001(b)                             250.00

   Miscellaneous household goods and                                   (Husb)735 I.L.C.S 5§12-1001(b)                             250.00                      500.00
   furnishings                                                         (Wife)735 I.L.C.S 5§12-1001(b)                             250.00

   Miscellaneous books, pictures, etc.                                 (Husb)735 I.L.C.S 5§12-1001(b)                              12.50                       25.00
                                                                       (Wife)735 I.L.C.S 5§12-1001(b)                              12.50

   Miscellaneous wearing apparel                                       (Husb)735 I.L.C.S 5§12-1001(a)                              75.00                      150.00
                                                                       (Wife)735 I.L.C.S 5§12-1001(a)                              75.00

   Miscellaneous sports equipment                                      (Husb)735 I.L.C.S 5§12-1001(b)                             100.00                      200.00
                                                                       (Wife)735 I.L.C.S 5§12-1001(b)                             100.00

   1999 Toyota Avalon                                                  (Wife)735 I.L.C.S 5§12-1001(c)                               0.00                     3,675.00

   401(K)                                                              (Wife)735 I.L.C.S 5§12-1006                              4,000.00                     5,231.32

   Union Pension                                                       (Wife)735 I.L.C.S 5§12-1006                                  0.00                     5,501.11

   Union Account                                                       (Husb)735 I.L.C.S 5§12-1001(b)                              35.51                       35.51




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B6D (Official Form 6D) (12/07)

         Dennis Bernard Rakoczy & Kathleen Rakoczy
In re _______________________________________________,                                                                            Case No. _________________________________
                                       Debtor                                                                                                                                    (If known)

                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
          State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
§112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community."
          If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
one of these three columns.)
          Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


           Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                            AMOUNT
                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                                UNLIQUIDATED
                                                                                                                                   CONTINGENT
                                                                                                 DATE CLAIM WAS INCURRED,                                                      OF
                                                            CODEBTOR




                                                                                                                                                               DISPUTED
                                                                         ORCOMMUNITY




            CREDITOR’S NAME,
             MAILING ADDRESS                                                                        NATURE OF LIEN, AND                                                      CLAIM            UNSECURED
           INCLUDING ZIP CODE,                                                                       DESCRIPTION AND                                                        WITHOUT            PORTION,
          AND ACCOUNT NUMBER                                                                        VALUE OF PROPERTY                                                      DEDUCTING            IF ANY
            (See Instructions Above.)                                                                 SUBJECT TO LIEN                                                       VALUE OF
                                                                                                                                                                          COLLATERAL


ACCOUNT NO. 079750444                                                                         Lien: 1st Mortgage                                                                                8,076.73
                                                                                              Security: Debtors Residence
Countrywide Bank
PO Box 650070                                                          J                                                                                                    176,076.73
Dallas, TX 75265-0070

                                                                                               VALUE $              168,000.00
ACCOUNT NO. 6100232958                                                                        Lien: 2nd Mortgage
                                                                                              Security: Debtors' Residence
Harris NA
111 W. Monroe Street                                                   J                                                                                                     31,834.15              0.00
PO Box 755
Chicago, IL 60690
                                                                                              VALUE $               168,000.00
ACCOUNT NO. 0046496594                                                                        Lien: Automobile Loan                                                                             6,935.20
                                                                                              Security: 1999 Toyota Avalon
Toyota Financial Services
PO Box 5855                                                            J                                                                                                     11,185.20
Carol Stream, IL 60197-5855

                                                                                               VALUE $                 4,250.00

   0
 _______ continuation sheets attached                                                                                             Subtotal     $ 219,096.08                              $     15,011.93
                                                                                                                          (Total of this page)
                                                                                                                                      Total    $ 219,096.08                              $     15,011.93
                                                                                                                       (Use only on last page)
                                                                                                                                                                (Report also on       (If applicable, report
                                                                                                                                                                Summary of Schedules) also on Statistical
                                                                                                                                                                                      Summary of Certain
                                                                                                                                                                                      Liabilities and Related
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                                                                                                                                                                                      Data.)
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           Dennis Bernard Rakoczy & Kathleen Rakoczy
   In re________________________________________________________________,                         Case No.______________________________
                           Debtor                                                                               (if known)

        SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
  unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
  address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
  property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
  the type of priority.

         The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
  the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
  "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
  entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
  both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
  Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
  in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
  more than one of these three columns.)

        Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
  Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

            Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
  amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
  primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

           Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
  amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
  with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
  Data.



      Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

 TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


       Domestic Support Obligations

       Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


       Extensions of credit in an involuntary case

      Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

       Wages, salaries, and commissions

         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
 independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
 cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

       Contributions to employee benefit plans

            Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

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                Dennis Bernard Rakoczy & Kathleen Rakoczy
      In re________________________________________________________________,                                  Case No.______________________________
                              Debtor                                                                                        (if known)




        Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


        Deposits by individuals
     Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
 that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units

     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



        Commitments to Maintain the Capital of an Insured Depository Institution

    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
 Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
 U.S.C. § 507 (a)(9).



        Claims for Death or Personal Injury While Debtor Was Intoxicated

      Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




  * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
  adjustment.




                                                                            0
                                                                          ____ continuation sheets attached




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         Dennis Bernard Rakoczy & Kathleen Rakoczy
 In re __________________________________________,                                                                        Case No. _________________________________
                                Debtor                                                                                                                               (If known)

      SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
             State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
 against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
 useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
 of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
            If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
 appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
 community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

           If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

           Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
 Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
 Related Data.
          Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                 HUSBAND, WIFE, JOINT




                                                                                                                                                      UNLIQUIDATED
                                                                   ORCOMMUNITY




                                                                                                                                         CONTINGENT
                                                      CODEBTOR




                                                                                             DATE CLAIM WAS INCURRED AND




                                                                                                                                                                     DISPUTED
            CREDITOR’S NAME,                                                                                                                                                        AMOUNT
             MAILING ADDRESS                                                                   CONSIDERATION FOR CLAIM.
                                                                                             IF CLAIM IS SUBJECT TO SETOFF,                                                           OF
           INCLUDING ZIP CODE,                                                                                                                                                       CLAIM
          AND ACCOUNT NUMBER                                                                            SO STATE.
            (See instructions above.)

ACCOUNT NO.         549099714804649                                                     Consideration: Credit card debt
Bank of America
PO Box 15019                                                     J                                                                                                                       7,783.58
Wilmington, DE 19886-5019



ACCOUNT NO.         4305721491118944                                                    Consideration: Credit card debt
Capital One
PO Box 6492                                                      J                                                                                                                       8,771.21
Carol Stream, IL 60197



ACCOUNT NO.         5291497348978490                                                    Consideration: Credit card debt
Capital One
PO Box 6492                                                      J                                                                                                                       7,398.35
Carol Stream, IL 60197



ACCOUNT NO.         4266902021608607                                                    Consideration: Credit card debt
Chase Card Services
PO Box 15153                                                     J                                                                                                                      13,136.23
Wilmington, DE 19886




      1
    _______ continuation sheets attached                                                                                               Subtotal                                 $       37,089.37
                                                                                                                                     Total                                      $
                                                                                       (Use only on last page of the completed Schedule F.)
                                                        (Report also on Summary of Schedules and, if applicable, on the Statistical
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                                                                                          Summary of Certain Liabilities and Related Data.)
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          Dennis Bernard Rakoczy & Kathleen Rakoczy
  In re __________________________________________________,                                                                        Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                      AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                  OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.          5424180864825127                                                          Consideration: Credit card debt
Citi Card
PO Box 688914                                                            J                                                                                                                          13,914.67
Des Moines, IA 50368-8914



ACCOUNT NO.          5856 3704 6023 8661                                                       Consideration: Credit card debt
Dress Barn
PO Box 659704                                                            W                                                                                                                            333.03
San Antonio, TX 78265-9704



ACCOUNT NO.




ACCOUNT NO.




 ACCOUNT NO.




           1 of _____continuation
Sheet no. _____    1                sheets attached                                                                                                 Subtotal                                  $     14,247.70
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $     51,337.07
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
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        Dennis Bernard Rakoczy & Kathleen Rakoczy
In re                                                                                          Case No.
                              Debtor                                                                                  (if known)

        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
            Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
 State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
 names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
 contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
 guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

        Check this box if debtor has no executory contracts or unexpired leases.


                                                                                              DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                          DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
           OF OTHER PARTIES TO LEASE OR CONTRACT.                                             NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                  NUMBER OF ANY GOVERNMENT CONTRACT.

US Bank                                                                                     2008 Toyota Solara automobile lease $412.15 /month
PO Box 790408
St. Louis, MO 63179-0408




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In re   Dennis Bernard Rakoczy & Kathleen Rakoczy                                           Case No.
                               Debtor                                                                             (if known)


                                                         SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
Fed. Bankr. P. 1007(m).
    Check this box if debtor has no codebtors.



                 NAME AND ADDRESS OF CODEBTOR                                                          NAME AND ADDRESS OF CREDITOR




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B6I (Official Form 6I) (12/07)


             Dennis Bernard Rakoczy & Kathleen Rakoczy
In re                                                                                                       Case
                           Debtor                                                                                              (if known)
                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

 Debtor’s Marital                                                                          DEPENDENTS OF DEBTOR AND SPOUSE
 Status:   Married                         RELATIONSHIP(S): No dependents                                                          AGE(S):
 Employment:                                          DEBTOR                                                                   SPOUSE
 Occupation                                                                                               Claims Production Assistant
 Name of Employer                            Sound, Inc.                                                  American Imaging Management
 How long employed                           1.5 weeks                                                    1.5 years
 Address of Employer                         1550 Shore Road                                              540 Lake-Cook Road
                                             Naperville, IL 60563                                         Deerfield, IL 60015

INCOME: (Estimate of average or projected monthly income at time case filed)                                                 DEBTOR                  SPOUSE
1. Monthly gross wages, salary, and commissions
                                                                                                                                2,599.52
                                                                                                                          $ _____________             2,986.53
                                                                                                                                                 $ _____________
      (Prorate if not paid monthly.)
2. Estimated monthly overtime                                                                                                      0.00
                                                                                                                          $ _____________                 0.00
                                                                                                                                                 $ _____________

3. SUBTOTAL                                                                                                                     2,599.52
                                                                                                                           $ _____________             2,986.53
                                                                                                                                                  $ _____________
4. LESS PAYROLL DEDUCTIONS
                                                                                                                                  552.37
                                                                                                                           $ _____________              688.13
                                                                                                                                                  $ _____________
        a.   Payroll taxes and social security
                                                                                                                                   16.59
                                                                                                                           $ _____________                89.59
                                                                                                                                                  $ _____________
        b.   Insurance
        c.   Union Dues                                                                                                             0.00
                                                                                                                           $ _____________                 0.00
                                                                                                                                                  $ _____________
        d.                      (S)Vacation
             Other (Specify:___________________________________________________________)                                            0.00
                                                                                                                           $ _____________              253.86
                                                                                                                                                  $ _____________

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                                568.96
                                                                                                                           $ _____________            1,031.58
                                                                                                                                                  $ _____________

6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                                              2,030.56
                                                                                                                            $ _____________           1,954.95
                                                                                                                                                  $ _____________

7. Regular income from operation of business or profession or farm                                                                  0.00
                                                                                                                           $ _____________                0.00
                                                                                                                                                  $ _____________
   (Attach detailed statement)
8. Income from real property                                                                                                        0.00
                                                                                                                           $ _____________                0.00
                                                                                                                                                  $ _____________
9. Interest and dividends                                                                                                           0.00
                                                                                                                           $ _____________                0.00
                                                                                                                                                  $ _____________
10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                    0.00
                                                                                                                           $ _____________                0.00
                                                                                                                                                  $ _____________
   debtor’s use or that of dependents listed above.
11. Social security or other government assistance
                                                                                                                                    0.00
                                                                                                                           $ _____________                0.00
                                                                                                                                                  $ _____________
   ( Specify)
12. Pension or retirement income                                                                                                    0.00
                                                                                                                           $ _____________                0.00
                                                                                                                                                  $ _____________
13. Other monthly income                                                                                                            0.00
                                                                                                                           $ _____________                0.00
                                                                                                                                                  $ _____________
    (Specify)                                                                                                                       0.00
                                                                                                                           $ _____________                0.00
                                                                                                                                                  $ _____________
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                         $ _____________
                                                                                                                                    0.00          $ _____________
                                                                                                                                                          0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                                 2,030.56
                                                                                                                            $ _____________           1,954.95
                                                                                                                                                  $ _____________

16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                                             $ _____________
                                                                                                                                             3,985.51
    from line 15)
                                                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                                                       on Statistical Summary of Certain Liabilities and Related Data)

17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         None


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                      6J) (12/07)                     Doc 1           Filed 08/31/09 Entered 08/31/09 11:16:36            Desc Main
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 In re Dennis Bernard Rakoczy & Kathleen Rakoczy                                              Case No.
                     Debtor                                                                                  (if known)

           SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
             Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
  filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
  calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
        labeled “Spouse.”


1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                            1,746.88
           a. Are real estate taxes included?                 Yes ________ No ________
           b. Is property insurance included?                 Yes ________ No ________
2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                              160.89
               b. Water and sewer                                                                                                    $ ______________
                                                                                                                                               33.42
               c. Telephone                                                                                                          $ ______________
                                                                                                                                               25.00
                         Garbage 14.71 Cable 60.98 Cells 105 Internet 35
               d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                              215.69
3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                               50.00
4. Food                                                                                                                              $ ______________
                                                                                                                                              400.00
5. Clothing                                                                                                                          $ ______________
                                                                                                                                                0.00
6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                                0.00
7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                              125.00
8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                              130.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
                                                                                                                                                0.00
10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                                0.00
11.Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                                0.00
           b. Life                                                                                                                   $ ______________
                                                                                                                                              301.00
           c. Health                                                                                                                 $ ______________
                                                                                                                                                0.00
           d.Auto                                                                                                                    $ ______________
                                                                                                                                              103.00
           e. Other Umbrella Policy                                                                                                  $ ______________
                                                                                                                                                4.87
12.Taxes (not deducted from wages or included in home mortgage payments)
(Specify)                                                                                                                            $ ______________
                                                                                                                                                0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                   $______________
                                                                                                                                              412.15
           b. Other 2nd Auto                                                                                                         $ ______________
                                                                                                                                              279.63
           c. Other Harris - 2nd mtg                                                                                                 $ ______________
                                                                                                                                              186.87
14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                0.00
15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                0.00
17. Other                                                                                                                            $______________
                                                                                                                                                0.00
18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                            4,174.40
if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
          None


20. STATEMENT OF MONTHLY NET INCOME
        a. Average monthly income from Line 15 of Schedule (Includes
                                                           I         spouse income of $1,954.95. See Schedule I)                         3,985.51
                                                                                                                                  $ ______________
        b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                         4,174.40
        c. Monthly net income (a. minus b.)                (Net includes Debtor/Spouse combined Amounts)                                  -188.89
                                                                                                                                  $ ______________




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       B6 Summary (Official Form 6 - Summary) (12/07)




                                                     United States Bankruptcy Court
                                                                      Northern District of Illinois
                    Dennis Bernard Rakoczy & Kathleen Rakoczy
     In re                                                                                                       Case No.
                                                                       Debtor
                                                                                                                 Chapter      7

                                                                  SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                            AMOUNTS SCHEDULED
                                                         ATTACHED
  NAME OF SCHEDULE                                        (YES/NO)                  NO. OF SHEETS       ASSETS             LIABILITIES        OTHER
  A – Real Property
                                                          YES                              1        $   168,000.00

  B – Personal Property
                                                          YES                              3        $    27,927.94

  C – Property Claimed
      as exempt                                           YES                              1

  D – Creditors Holding
     Secured Claims                                       YES                              1                           $     219,096.08

  E - Creditors Holding Unsecured
      Priority Claims                                     YES                              2                           $           0.00
     (Total of Claims on Schedule E)
  F - Creditors Holding Unsecured
      Nonpriority Claims                                  YES                              2                           $      51,337.07

  G - Executory Contracts and
      Unexpired Leases                                    YES                              1

  H - Codebtors
                                                          YES                              1

  I - Current Income of
      Individual Debtor(s)                                YES                              1                                              $    3,985.51

  J - Current Expenditures of Individual
      Debtors(s)                                          YES                              1                                              $    4,174.40


                                             TOTAL                                         14       $   195,927.94     $     270,433.15




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   Official Form09-73721
         Case    6 - Statistical Summary
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                                               United States Bankruptcy Court
                                                                    Northern District of Illinois

                  In re        Dennis Bernard Rakoczy & Kathleen Rakoczy                                       Case No.
                                                                    Debtor
                                                                                                               Chapter      7

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

      Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.


     Type of Liability                                                                         Amount

     Domestic Support Obligations (from Schedule E)                                           $
                                                                                                        0.00
     Taxes and Certain Other Debts Owed to Governmental Units (from                           $
     Schedule E)
                                                                                                        0.00
     Claims for Death or Personal Injury While Debtor Was Intoxicated (from                   $
     Schedule E) (whether disputed or undisputed)                                                       0.00
     Student Loan Obligations (from Schedule F)                                               $         0.00
     Domestic Support, Separation Agreement, and Divorce Decree                               $
     Obligations Not Reported on Schedule E                                                             0.00
     Obligations to Pension or Profit-Sharing, and Other Similar Obligations                  $
     (from Schedule F)                                                                                  0.00

                                                                                     TOTAL    $         0.00


    State the Following:
     Average Income (from Schedule I, Line 16)                                                $     3,985.51
     Average Expenses (from Schedule J, Line 18)                                              $     4,174.40
     Current Monthly Income (from Form 22A Line 12; OR, Form
     22B Line 11; OR, Form 22C Line 20 )                                                      $
                                                                                                    6,196.86



    State the Following:
     1. Total from Schedule D, “UNSECURED PORTION, IF                                                          $    15,011.93
     ANY” column

     2. Total from Schedule E, “AMOUNT ENTITLED TO
     PRIORITY” column.
                                                                                              $         0.00

     3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                                         $
     PRIORITY, IF ANY” column                                                                                             0.00

     4. Total from Schedule F                                                                                  $    51,337.07
     5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                              $    66,349.00



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                            Declaration) (12/07)                              1        Filed 08/31/09 Entered 08/31/09 11:16:36                                                                 Desc Main
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      In re                                                                                                                                        Case No.
                                             Debtor                                                                                                                                   (If known)

                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                          16 sheets, and that they
                 I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______
      are true and correct to the best of my knowledge, information, and belief.



       Date       31 August 2009                                                                                            Signature:          /s/ Dennis Bernard Rakoczy
                                                                                                                                                                               Debtor:


       Date       31 August 2009                                                                                            Signature:          /s/ Kathleen Rakoczy
                                                                                                                                                                      (Joint Debtor, if any)

                                                                                                                                   [If joint case, both spouses must sign.]
   -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                               DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
 compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
 110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
 by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
 accepting any fee from the debtor, as required by that section.


 Printed or Typed Name and Title, if any,                                                                                             Social Security No.
 of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

  If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
  who signs this document.




  Address

  X
                       Signature of Bankruptcy Petition Preparer                                                                                                      Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
-------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


      I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


Date                                                                                                                 Signature:


                                                                                                                                      [Print or type name of individual signing on behalf of debtor.]
                                 [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
        Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.


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                                                       STATES BANKRUPTCY              COURT
                                                        Northern District of Illinois

In Re Dennis Bernard Rakoczy & Kathleen Rakoczy                                                            Case No.
                                                                                                                            (if known)


                                                         STATEMENT OF FINANCIAL AFFAIRS

                   This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
         the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
         information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
         filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
         provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
         indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
         or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
         R. Bankr. P. 1007(m).

                   Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
         must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
         additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
         case number (if known), and the number of the question.

                                                                                         DEFINITIONS

                    "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
         individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
         the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
         the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
         employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
         in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                    "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
         their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
         percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
         such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                       1. Income from employment or operation of business

                       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                       the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
        None           beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                       two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                       the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                       of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                       spouses are separated and a joint petition is not filed.)

                                 AMOUNT                                                          SOURCE
             2009(db)           19400.00            Employment                                             FY: 03/01/09 to 05/24/09

             2008(db)           31079.09            Employment

             2007(db)           75446.45            Employment



             2009(jdb)            6380.12           Employment                                             FY: 01/01/09 to 03/01/09

             2008(jdb)          32880.59            Employment

             2007(jdb)          14672.00            Employment




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                     2.    Income other than from employment or operation of business

        None                State the amount of income received by the debtor other than from employment, trade, profession, or
                     operation of the debtor's business during the two years immediately preceding the commencement of this case.
                     Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                     under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                     the spouses are separated and a joint petition is not filed.)

                       AMOUNT                                                                       SOURCE

             2008 (db)              31353.45                 Employment (former)

             2009(db)                2294.00                 Unemployment

             2008(jdb)                 200.00                Second Employment

             2007(jdb)               1570.00                 Second Employment



                     3. Payments to creditors
        None
                      Complete a. or b., as appropriate, and c.
                     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases
                     of goods or services, and other debts to any creditor made within 90 days immediately preceding the
                     commencement of this case unless the aggregate value of all property that constitutes or is affected by such
                     transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                     a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                     nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13
                     must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                     separated and a joint petition is not filed.)


        NAME AND ADDRESS OF CREDITOR                                                     DATES OF            AMOUNT        AMOUNT STILL
                                                                                         PAYMENTS             PAID            OWING




        None
                     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
                     made within 90 days immediately preceding the commencement of the case unless the aggregate value of all
                     property that constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual,
                     indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                     obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
                     credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and
                     other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                     and a joint petition is not filed.)


        NAME AND ADDRESS OF CREDITOR                                                     DATES OF            AMOUNT        AMOUNT STILL
         AND RELATIONSHIP TO DEBTOR                                                      PAYMENTS             PAID            OWING




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        None
                     c. All debtors: List all payments made within one year immediately preceding the commencement of this case
                     to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13
                     must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                     separated and a joint petition is not filed.)


        NAME AND ADDRESS OF CREDITOR                                                     DATES OF            AMOUNT PAID      AMOUNT STILL
         AND RELATIONSHIP TO DEBTOR                                                      PAYMENTS                                OWING


                     4. Suits and administrative proceedings, executions, garnishments and attachments

        None         a.      List all suits and administrative proceedings to which the debtor is or was a party within one year
                     immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13
                     must include information concerning either or both spouses whether or not a joint petition is filed, unless the
                     spouses are separated and a joint petition is not filed.)


       CAPTION OF SUIT                              NATURE OF PROCEEDING                                 COURT OR                STATUS OR
      AND CASE NUMBER                                                                               AGENCY AND LOCATION          DISPOSITION


        None         b.      Describe all property that has been attached, garnished or seized under any legal or equitable process
                     within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                     12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
                     petition is filed, unless the spouses are separated and a joint petition is not filed.)


           NAME AND ADDRESS OF                                                            DATE OF                          DESCRIPTION AND
         PERSON FOR WHOSE BENEFIT                                                         SEIZURE                         VALUE OF PROPERTY
           PROPERTY WAS SEIZED


                     5.    Repossessions, foreclosures and returns

        None                List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a
                     deed in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement
                     of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                     property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                     joint petition is not filed.)


          NAME AND                                                  DATE OF REPOSESSION,                                   DESCRIPTION AND
         ADDRESS OF                                                  FORECLOSURE SALE,                                    VALUE OF PROPERTY
      CREDITOR OR SELLER                                            TRANSFER OR RETURN




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                     6. Assignments and Receiverships

        None         a.      Describe any assignment of property for the benefit of creditors made within 120 days immediately
                     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                     any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                     and a joint petition is not filed.)


                   NAME AND                                                  DATE OF ASSIGNMENT                   TERMS OF
                    ADDRESS                                                                                      ASSIGNMENT
                  OF ASSIGNEE                                                                                   OR SETTLEMENT


        None         b.      List all property which has been in the hands of a custodian, receiver, or court-appointed official within
                     one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                     chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
                     is filed, unless the spouses are separated and a joint petition is not filed.)


                  NAME AND                                      NAME AND LOCATION                     DATE OF         DESCRIPTION AND
                   ADDRESS                                      OF COURT CASE TITLE                    ORDER         VALUE OF PROPERTY
                 OF CUSTODIAN                                        & NUMBER



                     7.    Gifts

        None               List all gifts or charitable contributions made within one year immediately preceding the commencement of
                     this case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual
                     family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
                     under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
                     joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


              NAME AND                                           RELATIONSHIP                     DATE OF         DESCRIPTION AND
             ADDRESS OF                                        TO DEBTOR, IF ANY                    GIFT           VALUE OF GIFT
       PERSON OR ORGANIZATION


                     8.    Losses

        None                List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                     commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12
                     or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
                     spouses are separated and a joint petition is not filed.)


             DESCRIPTION                                        DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                  DATE OF
             AND VALUE                                             WAS COVERED IN WHOLE OR IN PART BY                        LOSS
             OF PROPERTY                                               INSURANCE, GIVE PARTICULARS




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                     9.    Payments related to debt counseling or bankruptcy

        None                 List all payments made or property transferred by or on behalf of the debtor to any persons, including
                     attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                     petition in bankruptcy within one year immediately preceding the commencement of this case.


                       NAME AND ADDRESS                                     DATE OF PAYMENT,                AMOUNT OF MONEY OR
                           OF PAYEE                                         NAME OF PAYOR IF                  DESCRIPTION AND
                                                                           OTHER THAN DEBTOR                 VALUE OF PROPERTY

        Scott A. Bentley                                           8-2009                              $1,700.00
        618 South Route 31
        Suite 1
        McHenry, IL 60050

                     10. Other transfers

        None         a.     List all other property, other than property transferred in the ordinary course of the business or financial
                     affairs of the debtor, transferred either absolutely or as security within two years immediately preceding the
                     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
                     either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
                     is not filed.)


            NAME AND ADDRESS OF TRANSFEREE,                                                 DATE                 DESCRIBE PROPERTY
                RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                  VALUE RECEIVED


                     b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
                     case to a self-settled trust or similar device of which the debtor is a beneficiary.
        None

               NAME OF TRUST OR OTHER DEVICE                                              DATE(S) OF           AMOUNT OF MONEY OR
                                                                                         TRANSFER(S)             DESCRIPTION AND
                                                                                                                VALUE OF PROPERTY
                                                                                                               OR DEBTOR'S INTEREST
                                                                                                                   IN PROPERTY




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                     11. Closed financial accounts

        None                List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                     which were closed, sold, or otherwise transferred within one year immediately preceding the commencement of
                     this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
                     shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage
                     houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include
                     information concerning accounts or instruments held by either or both spouses whether or not a joint petition is
                     filed, unless the spouses are separated and a joint petition is not filed.)


                  NAME AND                                        TYPE OF ACCOUNT, LAST FOUR                           AMOUNT AND
                   ADDRESS                                        DIGITS OF ACCOUNT NUMBER,                            DATE OF SALE
                OF INSTITUTION                                   AND AMOUNT OF FINAL BALANCE                            OR CLOSING

            Harris Bank                                      Savings Account #7801045440                     1/19/09 $0.00
                                                             Closing Balance: 188.92

            Harris NA                                        IRA - #6100232958                               $0.00
            111 W. Monroe                                     Closing Balance: 1702.77
            Chicago, IL 60603

            John Hancock Life                                401K GRP3652400                                 $1,734.71
            PO Box 640                                        Closing Balance: 0.00
            Buffalo, NY 14201

            IRS policy
                                                              Closing Balance: ???????????

                     12. Safe deposit boxes

        None                List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                     valuables within one year immediately preceding the commencement of this case.                (Married debtors filing
                     under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
                     joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                     NAME AND                                NAMES AND ADDRESSES OF          DESCRIPTION OF              DATE OF
                  ADDRESS OF BANK                           THOSE WITH ACCESS TO BOX           CONTENTS                TRANSFER OR
                OR OTHER DEPOSITORY                              OR DEPOSITORY                                       SURRENDER, IF ANY




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                     13. Setoffs

        None                List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90
                     days preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                     include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
                     are separated and a joint petition is not filed.)


               NAME AND ADDRESS OF CREDITOR                                               DATE                        AMOUNT
                                                                                           OF                            OF
                                                                                         SETOFF                        SETOFF

                     14. Property held for another person

        None                List all property owned by another person that the debtor holds or controls.


                    NAME AND                                             DESCRIPTION AND                   LOCATION OF PROPERTY
                 ADDRESS OF OWNER                                       VALUE OF PROPERTY


                     15. Prior address of debtor
        None
                            If the debtor has moved within the three years immediately preceding the commencement of this case, list
                     all premises which the debtor occupied during that period and vacated prior to the commencement of this case.
                     If a joint petition is filed, report also any separate address of either spouse.


                   ADDRESS                                                         NAME USED                      DATES OF OCCUPANCY



                     16. Spouses and Former Spouses
        None
                        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
                     within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
                     spouse and of any former spouse who resides or resided with the debtor in the community property state.


                                      NAME


                     17. Environmental Sites

                     For the purpose of this question, the following definitions apply:

                     "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                     releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
                     or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                     wastes, or material.

                                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or
                                   not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
                                   substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law


        None
                     a.       List the name and address of every site for which the debtor has received notice in writing by a
                     governmental unit that it may be liable or potentially liable under or in violation of an Environmental Law.
                     Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:


                  SITE NAME                                   NAME AND ADDRESS                    DATE OF               ENVIRONMENTAL
                 AND ADDRESS                                OF GOVERNMENTAL UNIT                   NOTICE                    LAW
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                     b.     List the name and address of every site for which the debtor provided notice to a governmental unit of a
                     release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
        None

                  SITE NAME                                   NAME AND ADDRESS                      DATE OF            ENVIRONMENTAL
                 AND ADDRESS                                OF GOVERNMENTAL UNIT                     NOTICE                 LAW


                     c.      List all judicial or administrative proceedings, including settlements or orders, under any Environmental
                     Law with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit
        None         that is or was a party to the proceeding, and the docket number.


                    NAME AND ADDRESS                                              DOCKET NUMBER                STATUS OR DISPOSITION
                  OF GOVERNMENTAL UNIT


                     18. Nature, location and name of business

        None         a.     If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                     businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                     partner, or managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a
                     trade, profession, or other activity either full- or part-time within six years immediately preceding the
                     commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                     within the six years immediately preceding the commencement of this case.

                     If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                     and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more
                     of the voting or equity securities, within the six years immediately preceding the commencement of this case.

                     If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                     businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                     percent or more of the voting or equity securities within the six years immediately preceding the commencement
                     of this case.

           NAME                 LAST FOUR DIGITS OF                           ADDRESS             NATURE OF BUSINESS BEGINNING AND
                                SOCIAL-SECURITY OR                                                                   ENDING DATES
                                 OTHER INDIVIDUAL
                                  TAXPAYER-I.D. NO.
                                (ITIN)/ COMPLETE EIN


                     b.    Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined
                     in 11 U.S.C. § 101.
        None

                     NAME                                                                                ADDRESS




                                     [Questions 19 - 25 are not applicable to this case]
                                                                 *     *     *     *     *   *




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             [If completed by an individual or individual and spouse]

             I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
             attachments thereto and that they are true and correct.
             31 August 2009                                                                                 /s/ Dennis Bernard Rakoczy
Date                                                                            Signature
                                                                                of Debtor                   DENNIS BERNARD RAKOCZY

Date         31 August 2009                                                     Signature                   /s/ Kathleen Rakoczy
                                                                                of Joint Debtor             KATHLEEN RAKOCZY

                                                                        0 continuation sheets attached
                                                                      _____


                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                       DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
    I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b);
(3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition
preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required in that section.




Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
partner who signs this document.




Address

X
Signature of Bankruptcy Petition Preparer                                                                                     Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
or imprisonment or both. 18 U.S.C. §156.




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                                                   UNITED STATES BANKRUPTCY COURT
                                                                            Northern District of Illinois
           Dennis Bernard Rakoczy & Kathleen Rakoczy
In re                                                                                            ,         Case No.
                                         Debtor                                                                              Chapter 7



                                 CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
 PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
 secured by property of the estate. Attach additional pages if necessary.)


   Property No. 1
  Creditor's Name:                                                                                    Describe Property Securing Debt:
   Countrywide Home Loans                                                                               Debtors' Residence



   Property will be (check one):
             Surrendered                                                            Retained

    If retaining the property, I intend to (check at least one):
             Redeem the property
             Reaffirm the debt
             Other. Explain _______________________________________________(for example, avoid lien
   using 11 U.S.C. §522(f)).

   Property is (check one):
              Claimed as exempt                                                                      Not claimed as exempt



   Property No. 2 (if necessary)
  Creditor's Name:                                                                                    Describe Property Securing Debt:
   Harris Bank                                                                                          Debtors' Residence



   Property will be (check one):
             Surrendered                                                            Retained

    If retaining the property, I intend to (check at least one):
             Redeem the property
             Reaffirm the debt
             Other. Explain _______________________________________________(for example, avoid lien
   using 11 U.S.C. §522(f)).

   Property is (check one):
              Claimed as exempt                                                                      Not claimed as exempt




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    PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
    Each unexpired lease. Attach additional pages if necessary.)


      Property No. 1              NO Leased Property
     Lessor's Name:                                                       Describe Leased Property:                      Lease will be Assumed pursuant
                                                                                                                         to 11 U.S.C. §365(p)(2)):
                                                                                                                             YES             NO


      Property No. 2 (if necessary)
     Lessor's Name:                                                       Describe Leased Property:                      Lease will be Assumed pursuant
                                                                                                                         to 11 U.S.C. §365(p)(2)):
                                                                                                                             YES             NO


      Property No. 3 (if necessary)
     Lessor's Name:                                                       Describe Leased Property:                      Lease will be Assumed pursuant
                                                                                                                         to 11 U.S.C. §365(p)(2)):
                                                                                                                             YES             NO

      1
     ______ continuation sheets attached (if any)

    I declare under penalty of perjury that the above indicates my intention as to any property of my
    Estate securing debt and/or personal property subject to an unexpired lease.




          31 August 2009
    Date:_____________________________                                                          /s/ Dennis Bernard Rakoczy
                                                                                             Signature of Debtor




                                                                                                /s/ Kathleen Rakoczy
                                                                                             Signature of Joint Debtor




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                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                (Continuation Sheet)
   PART A - Continuation




     Property No: 3

     Creditor's Name:                                                                            Describe Property Securing Debt:
      Toyota Financial Services                                                                  1999 Toyota Avalon



          Property will be (check one):
                   Surrendered                                                     Retained
          If retaining the property, I intend to (check at least one):
                   Redeem the property
                   Reaffirm the debt
                   Other. Explain                                                                                               (for example, avoid lien
          using 11 U.S.C.§522(f)).

          Property is (check one):
                 Claimed as exempt                                                             Not claimed as exempt




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                                                   UNITED STATES BANKRUPTCY COURT
                                                                    Northern District of Illinois
                  NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
 Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
 costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
 notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
 advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
 cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
 ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
 court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
 each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
 receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
 statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone
or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States
trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved
budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

          Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case
under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
not discharged.

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        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$39 administrative fee: Total fee $274)
        1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain
dollar amounts set forth in the Bankruptcy Code.
        2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors. The court must approve your plan before it can take effect.
        3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations.

        Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
local rules of the court.
                                             Certificate of [Non-Attorney] Bankruptcy Petition Preparer
          I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor
this notice required by § 342(b) of the Bankruptcy Code.
________________________________________                                ___________________________________
Printed Name and title, if any, of Bankruptcy Petition Preparer         Social Security number (If the bankruptcy petition
Address:                                                                preparer is not an individual, state the Social Security
________________________________________                                number of the officer, principal, responsible person, or partner of
                                                                        the bankruptcy petition preparer.) (Required
X_______________________________________                                by 11 U.S.C. § 110.)
Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.

                                                           Certificate of the Debtor
           I (We), the debtor(s), affirm that I (we) have received and read this notice.

Dennis Bernard Rakoczy & Kathleen Rakoczy
______________________________________________                                                 /s/ Dennis Bernard Rakoczy 31 August 2009
                                                                                             X___________________________________
Printed Name(s) of Debtor(s)                                                                 Signature of Debtor      Date

Case No. (if known) ____________________                                                       /s/ Kathleen Rakoczy           31 August 2009
                                                                                             X___________________________________
                                                                                             Signature of Joint Debtor (if any) Date



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         Bank of America
         PO Box 15019
         Wilmington, DE 19886-5019


         Capital One
         PO Box 6492
         Carol Stream, IL 60197


         Capital One
         PO Box 6492
         Carol Stream, IL 60197


         Chase Card Services
         PO Box 15153
         Wilmington, DE 19886


         Citi Card
         PO Box 688914
         Des Moines, IA 50368-8914


         Countrywide Bank
         PO Box 650070
         Dallas, TX 75265-0070


         Dress Barn
         PO Box 659704
         San Antonio, TX 78265-9704


         Harris NA
         111 W. Monroe Street
         PO Box 755
         Chicago, IL 60690


         Toyota Financial Services
         PO Box 5855
         Carol Stream, IL 60197-5855


         US Bank
         PO Box 790408
         St. Louis, MO 63179-0408
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12/94
                                                   United States Bankruptcy Court
                                                                           Northern District of Illinois
         In re Dennis Bernard Rakoczy & Kathleen Rakoczy                                                  Case No. ____________________
                                                                                                          Chapter        7
                                                                                                                    ____________________
         Debtor(s)
                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
        and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
        rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                     1,700.00
        For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                         1,700.00
        Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                        0.00
        Balance Due ......................................……………………………………….................... $ ______________

2.       The source of compensation paid to me was:

                              Debtor                         Other (specify)
3.       The source of compensation to be paid to me is:
                              Debtor                         Other (specify)

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

           I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.        In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
          a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
          b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
          c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




 6.        By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                          CERTIFICATION

                 I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
              debtor(s) in the bankruptcy proceeding.

                 31 August 2009                                                                 /s/ Scott A. Bentley
              ____________________________________                                            __________________________________________________
                              Date                                                                                 Signature of Attorney

                                                                                               __________________________________________________
                                                                                                                Name of law firm
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